  15-31885-hcm Doc#57 Filed 06/17/21 Entered 06/17/21 23:22:11 Imaged Certificate of
                                  Notice Pg 1 of 2




      The relief described hereinbelow is SO ORDERED.



      Signed June 15, 2021.

                                                                __________________________________
                                                                       H. CHRISTOPHER MOTT
                                                                UNITED STATES BANKRUPTCY JUDGE
      ________________________________________________________________

                             UNITED STATES BANKRUPTCY COURT
                                    Western District of Texas
                                      EL PASO Division
IN RE: Nohemi Chico , Debtor(s)                                              Case No.: 15−31885−hcm




                                ORDER AUTHORIZING PAYMENT
                               OF A DIVIDEND UNCLAIMED FUNDS
On this date came on for consideration the Application for Payment Of A Dividend From Unclaimed Funds by:

                   NAME:                    Dilks & Knopik
                   ADDRESS:                 As assignee to Estate of Mary Dulanto
                                            35308 SE Center Street
                                            Snoqualmie, WA 98065

Claimant, for payment of a dividend from unclaimed funds in the amount of $39601.25. It appearing to the Court that
the said claimant is entitled to receive payment of the dividend in the amount stated above, and

    that said funds now on deposit in the United States Treasure, and that notice of the Application was given to the
    United States Attorney

It is ORDERED that the Clerk of Court direct issuance of a draft upon the United States Treasury in the amount
stated above, payable to this claimant.

   Verification of Funds dated:06/15/2021 by Finance Dept.
                                                      ###
         15-31885-hcm Doc#57 Filed 06/17/21 Entered 06/17/21 23:22:11 Imaged Certificate of
                                         Notice Pg 2 of 2
                                                               United States Bankruptcy Court
                                                                 Western District of Texas
In re:                                                                                                                  Case No. 15-31885-hcm
Nohemi Chico                                                                                                            Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0542-3                                                   User: admin                                                                 Page 1 of 1
Date Rcvd: Jun 15, 2021                                                Form ID: pdfintp                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 17, 2021:
Recip ID                 Recipient Name and Address
db                     + Nohemi Chico, 3320 Greenock, El Paso, TX 79925-4100

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 17, 2021                                            Signature:            /s/Joseph Speetjens




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 15, 2021 at the address(es) listed below:
Name                               Email Address
Cheryl S. Davis
                                   on behalf of Creditor FBH Investors LP lawfirm@cherylsdavislaw.com, daviscr91330@notify.bestcase.com

Donald P. Stecker
                                   on behalf of Creditor City Of El Paso don.stecker@lgbs.com

Omar Maynez
                                   on behalf of Debtor Nohemi Chico mail@maynezlaw.com
                                   ecfmaynezlaw@gmail.com,ecfnoticesmobile@gmail.com,watsonandmaynez@gmail.com

Stuart C. Cox
                                   mbeard@ch13elpaso.com

United States Trustee - EP12
                                   USTPRegion07.SN.ECF@usdoj.gov


TOTAL: 5
